                Case 3:23-cv-01103-MPS Document 120 Filed 06/20/24 Page 1 of 1
                           UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                          CIVIL STANDARD MINUTES

     6/20/2024
Date ________________________________                      3:23-cv-1103-MPS
                                                    Case #_______________________________________________
                                                                     Michael P. Shea
                                                     Honorable Judge ______________________________________
 Boehringer Ingelheim Pharmaceuticals, Inc
______________________________________                            C. Sichanh
                                                     Deputy Clerk _________________________________________
                     Vs.                                                J. Shearin, R. Long Jr., A. Parrish, K. King
                                                     Counsel for Pla(s) _____________________________________
United States Department of Health and Huma
________________________________________                                A. Sverdlov, M. Gaffney
                                                     Counsel for Dft(s) _____________________________________
Start Time__________       12:52PM
          10:00AM End Time ____________                                       J. Monette
                                                     Reporter/ECRO/Courtsmart _____________________________
Recess (if more than ½ hr) ________ to _________     Interpreter______________________ Language ____________
           2
Total Time ________hour(s) 52
                           ________minute(s)                       ✔ in person
                                                     Hearing held                  by video       by telephone



HEARING AND TIME
 տ Motion/Oral Argument     ____     ‫ ܆‬Show Cause Hearing          ____    տ Evidentiary Hearing             ____
 տ Judgment Debtor Exam     ____     տ Pretrial Conference         ____    տ Scheduling Conference           ____
 տ Status Conference        ____     տ Settlement Conference      ____     տ Other: ________________         ____

MOTIONS
            FOR SUMMARY JUDGMENT #28
տ Motion _________________________________filed    by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
            FOR SUMMARY    JUDGEMENT   #48
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ Brief(s) due ________________ տ Proposed Findings due ________________ Response due _______________
տ Status report due ___________________________
տ Hearing continued until _________________ at _______________

NOTES




Rev. 3/21/24
